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Tara J. Amboh                                              U.S. DISTRICT COURT
Uinta Band Utah Indian
Post Office Box 155
Neola, Utah 84053
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                 UNITED STATES DISTRICT COURT
              DISTRICT OF UTAH, CENTRAL DIVISION


Tara Jeanne Amboh, CtS
Uinta Band Utah Indian,       Case No.
                                                                                 .
       Plaintiff,             COMPLAINT FOR DAMAGES,
                              FOR VIOLATIONS OF CIVIL
v.                            CONGRESSIONAL TREATY
                              RIGHTS AND FOR DECLARATORY
DUCHESNE COUNTY, a            INJUNCTIVE RELIEF
political subdivision
of the State of Utah,         Case: 2:21-cv-00564
and Duchesne County,          Assigned To: Romero, Cecilia M.
Attorney Stephen Foote        Assign. Date : 9/27/2021
                              Description: Amboh v Duchesne
       Defendant(s) ,         County et al


       Plaintiff Tara J. Amboh, brings this Complaint for

Damages for Violations of Indian Civil Rights and

Congressiona l Treaty Rights and Declaratory and

Injunctive Relief against Defendants. Plaintiffs allege

against Defendants upon knowledge as to themselves and

all matters of public record., and upon information and

belief as to all other matters, as follows:

                               I.

                    JORISDJ:CTJ:ON AND VENUE


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       1.   This Court has jurisdiction over this action

pursuant to 28 U.S.C. 1331, 1343(a) (3) and (4), and

ICRA, 25 U.S.C. 1301-1304, and 42 U.S.C. Sec. 1983. The

Federal Court has jurisdiction over the state law claims

pursuant to 38 U.S.C. 1367.

       2.   Venue is proper in this Court pursuant to 28

U.S.C. 1391(a).

                             PARTIES

       3.   Plaintiff Tara J. Amboh, resident of Duchesne

County, which is Uinta Valley Treaty Reserve 1861-1864.

The Uinta Band of Utah Indians and the United States

congress exercises congressional authority over Uinta

Valley Treaty Reserve and Plaintiff Amboh Uinta Band of

Utah Indian's alleged State of Utah offenses committed

within the boundaries of Mandated,       (by the 10~ Cir.

Appeals Court) Indian Country, 18 U.S.C. 1151 of the

Uinta Valley Treaty Reserve of 1861-1864. The Indian

Country boundaries remains unchanged since the Treaty-

Executive Order of 1861, affirmed by congress in 1864,

which the Uinta Band of Utah Indians can assert and

claims the Uinta Executive Order, dated Oct. 3, 1861 (1

Kappler 900), and affirmed by Congress, by the Uinta

Indian Act, dated May, 5, 1864 (13 Stat. 63), and Treaty

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of Guadalupe Hildago (9 Stat. 922), dated Feb. 2, 1848

with United States-Mexico.

       4.   Defendant, Stephen Foote, Prosecutor for

Duchesne County Attorney, is an attorney with the

Duchesne County Department. Upon information and belief,

at all times material hereto, Duchesne Attorney Stephen

Foote is a resident of Duchesne County. At all times

material hereto, Duchesne Attorney Stephen Foote is

Duchesne County officer and being a public employee is

liable for terms defined in the Tort Claims, Waivers of

Immunity, within the Utah Code Ann. 63G-7-301, and was

acting within scope of his duties as well as under color

of State law. The lack of knowledge on mandated Indian

Country's federal jurisdiction status, does not exist by

the arresting Roosevelt officer Charles Cox whose

citation was based upon State legislated charges, which

State legislations are not applicable without

Congressional approval or an act of Congress involving

the Uinta Valley Treaty Reserve rights. The presiding

Duchesne County Court Judge Samuel Chiara is just as

lacking knowledge in dealing with other federally

recognized Indians, this is why Plaintiff Amboh has acted

to filed against the DUCHESNE COUNTY, a political

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subdivision of the State of Utah, and Duchesne County

Attorney Stephen Foote, is sued personally and in his

official capacity, and Duchesne County is being sued for

Declaratory and Injunctive Relief.

       5.   Defendant Eighth District of Court - Duchesne

County, State of Utah is a governmental entity of the

State of Utah as defined in the; Notice of Claim Against

a Governmental Entity or a Government Employee, Utah Tort

Claims Act, Utah Code Ann. 63G-7-401, when a claim arises

- Notice of claim requirements - Governmental entity

statement - Limits on challenging validity or timeliness

of notice of claim.

       6.   Defendant Eighth District Court Duchesne

County, State of Utah is sued in general and as provided

by law for declaratory and injunctive relief, based upon

the claims of Plaintiff Amboh who was prosecuted by

Stephen Foote, that ignored Plaintiffs claims to Indian

Country jurisdiction.

                               III.

                   CLAIMS OF THE PLAINTIFF

       7.   Plaintiffs incorporate all of the foregoing as

if fully set forth herein.

       8.   On or about December 7, 2021 in Eighth District

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Court Duchesne County, State of Utah, where Duchesne

County Attorney, Stephen Foote alleged State infraction

violations with State legislating codes, without any

State subject matter jurisdictional authority. Where the

State Court acted to assert State authority over

Plaintiff without declaring jurisdiction complained about

herein. Roosevelt is mandated as Indian Country, 18

u.s.c.    1151.

         9.    While Tara J. Amboh was being charged with;

Interference With Arresting Officer, and Operating

Vehicle Without Insurance, in Duchesne County, placed in

handcuffs and arrested taken to Duchesne County Jail and

was told to pay $20.00 to get out and get an attorney.

This was extreme and unnecessary force on Tara J. Amboh's

who did not commit a major crime to be handcuffed and put

in jail, in Indian Country jurisdiction. The officer

refused to call the BIA and placed Plaintiff Amboh into

the Duchesne County State Court system, where the

prosecutor requested Jury Trial on an infraction, where

the Duchesne County Court sidestepped acknowledging

Indian Country jurisdiction applies to Ute Tribal Court

in the first instance.

         10.   Plaintiff Tara J. Amboh, was not resisting,

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only challenging jurisdiction, and Duchesne County

Officer (refused to call BIA) who seems to take great

pleasure and delight by abusing Tara J. Amboh, and in

fact laughed about the incident.

         11.   Plaintiff Tara J. Amboh was shocked, repulsed,

humiliated, ashamed and distraught at being subject to

these degrading and dehumanizing invasions of her

privacy, and suffered irreparable personal injury from

the obvious abuse and use of·extreme and unnecessary

force by Duchesne County Officer, which was obviously

designed for the gratification by the Duchesne County

Officer and other Duchesne County Officers present at the

scene.

         12.   Other Duchesne County Officer, present at the

scene, who witnessed the incidents complainted of herein,

were very concerned for the safety and welfare of Tara J.

Amboh as result of the abuse and extreme and unnecessary

use of force by Roosevelt City Officer Charles Cox of

Duchesne County complete disregard for the health and

safety of Tara J. Amboh.

                               IV.

                     FIRST CAUSE OF ACTION



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       (Civil Rights Violation Under 42 U.S.C. 1983,
   and the Indian Civil Rights Act 25 U.S.C. 1301-1303)

       13.   Plaintiff incorporated all of the foregoing as

if fully set forth herein.

       14.   Above-described acts and omissions of Duchesne

county officers were unreasonable, shocking to the

conscience, were committed intentionally, maliciously,

willfully and/or with reckless deliberate indifference,

in violation of the following clearly established

Congressional Treaty Rights and constitutional rights of

which a reasonable officers would have been aware:

       (a)   Plaintiff Amboh's Indian Civil Rights Act
             25 U.S.C. 1301-1303 rights to due process
             of law and encroachment on equal protection
             of the law; and

       (b)   Plaintiff Amboh's Fourth Amendment rights
             to due process of law and equal protection
             of the law; and

       (c)   Plaintiff Amboh's Eighth Amendment rights
             to be free from cruel and unusual punishment,
             as well as excessive force, and/or Fourteenth
             Amendment rights to substantive and procedural
             due process, and to privacy.

       15.     The above-described acts and omissions of

Duchesne County Officer were motivated by improper

motives and intent, and involved reckless and callous

indifference to Plaintiff Amboh's federally protected

Treaty rights as Uinta Band Member of Utah Indian,

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justifying an award of punitive irreparable damages.

       16.   These acts and omissions were direct and

approximate causes of the injuries complained of by

Plaintiff Amboh herein, as set forth below.

       17.   The acts and omissions of Duchesne County

Officer as set forth above were undertaken under color of

state law and operated to deprive Plaintiff, Tara J.

Amboh, of her Federal Treaty Reserved Rights.

Defendant Stephen Foote is liable in his individual and

official capacity for damages approximately caused by

these acts and omissions by requesting Jury Trial that

consisted of four individuals, where one person did not

show for Jury duty, which nullified the Jury.         (all non-

Indians)

Plaintiff, Tara J. Amboh, is also entitled to injunctive

relief against the Defendants, including the permanent

injunction prohibiting Defendants from engaging in the

unlawful practice ahd procedure complained about in the

Tenth Circuit Court, has already issued two decision

arising out of, Ute Indian Tribe v. States of Utah, 114

F. 3d 1513 (10 th Cir. 1997); and the Ute Indian Tribe v.

State of Utah, 790 F. 3d 1000 (10 th Cir. 2015).

       18.   As the direct and proximate cause of

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Defendants violations against Plaintiff Tara J. Amboh's

constitutional rights, and Congressional Treaty Reserved

Rights of Plaintiff Tara J. Amboh, where the Duchesne

County Court, by Jury found her guilty, with 90 hours

community service, all without subject matter

jurisdiction, when dealing with Indian Property that was

impounded. These are irreparable damages as set forth

below;

                                V.

                     SECOND CAUSE OF ACTION

      (Claims Arising Under the Utah Tort Claims Act)

         19.   Plaintiffs incorporate all of the foregoing as

if fully set forth herein.

         20.   The conduct of Defendants, described above,

resulted in personal injury, taking of Indian Property

for State and County Taxes against Plaintiff Tara J.

Amboh, as the result in the Eighth District Court -

Duchesne County, State of Utah. Minutes Sentence,

Judgment, Commitment, Case No. 201800404 MO, Judge Samuel

P. Chiara, dated August 30, 2021.      (attached herein) In

excessive and unnecessary force, and/or deprivation of

Indian Country jurisdictional rights, privileges or

immunities secured by the U.S. Constitution and Treaty

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 laws of Uinta Valley Treaty Reserve of 1861-1864 by the

 United States Congress.

       21.    The Duchesne County Police Department is the

governmental entity being the immediate supervisory

 responsibility over the actions of its Duchesne County

 Police Officers, including but not limiting these

 responsibility to Duchesne County Commissioners.

Therefore, the Duchesne County Police Department is

 jointly and severally liable for all injuries and damages

 caused by the negligence or intentional acts against

 Plaintiff Arnboh under the doctrine of vicarious

liability. All non-Indian Officers are held liable for

damages within Indian Country jurisdiction.

       22.    The conduct of Defendants was the direct and

proximate cause of the injuries and damages to Plaintiffs

Arnboh as set forth below.

       23.    All of the acts or omissions which constitute

the basis for liability herein come within the scope of

the waivers of immunity contained with the Utah Tort

Claims Act.

       24.    To the extent required, Plaintiff Amboh have

given written notice of the claims contained herein, in

compliance with Utah Tort Claims Act.

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        25.   As the direct and proximate cause of

 Defendants conduct, Plaintiff Amboh's suffered damages as

 set forth below.

                                VI.

                      THIRD CAUSE OF ACTION

       (CLAIM FOR RACIAL DISCRIMINATION AND INJUNCTIVE
                   AND DECLARATORY RELIEF)

        26.   Plaintiffs incorporate all of the foregoing as

 if fully set forth herein.

        27.   Plaintiff Tara J. Amboh, is Member of Uinta

 Band of Utah Treaty Indians or Native American member.

 Plaintiff Amboh seeks judgment declaring that Defendants

must cease the activities described herein, and enjoining

 Defendants from any further activities of this nature

without just cause and in accordance with federally

established Indian Country procedures into Tribal Court.

       28.    The constitutional and congressional act have

been violated as alleged herein, arise from Duchesne

County official policies and practices sanctioned by

State of Utah Defendants, does not apply to Native

Indians in Indian Country boundaries.

The irreparable harm which Plaintiff Amboh have sustained

is directly traceable to Duchesne County's officially


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 sanctioned police along with State of Utah procedures.

 The Duchesne County Police Department has had the long

 standing history of abusing and discriminating against

 Uinta Treaty Indian members and other Ute Indians

 members, and denying Native Americans due process of law,

 as well as treating Native Americans harshly and

 inhumanely while denying Natives equal protection under

 tribal and federal laws in Indian Country.

          29.   Plaintiff Amboh's do not have plain adequate,

 speedy, or complete remedy at law to address the wrongs

 alleged in this Complaint, and Plaintiff Amboh as well as

 other Ute Tribal members, have suffered irreparable

 injury as the result of Defendants misconduct unless

 injunctive and declaratory relief is granted by this

 court.

 Plaintiff Amboh is in real and immediate danger of

 sustaining future, direct injury as the result of

 Defendants Duchesne County Official policies and

practices that are ongoing at the time of this complaint.

          30.   No cognizable burden will be placed on

 Defendants by requiring that the actions of Duchesne

County Officers, as well as all of Duchesne County

Officers of the Duchesne County Police Department, be

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 undertaken only when warranted and necessary, and in

 accordance with federal law.      The public interest would

 be greatly enhanced by enforcement of policies and

practice which adheres to the requirements of the State

 and Federal Constitution. Absent injunctive relief, there

 is no guarantee that the Defendants will cease there

 illegal policies and practices as alleged herein.

       31.   By reason of the foregoing, Plaintiff Amboh is

 entitled to declaratory and injunctive relief and

 irreparable harms as set forth.

                               VII.

                             DAMAGES

       32.   Plaintiffs incorporate all of the foregoing as

 if fully set forth herein.

       33.   As the direct and proximate result of the

wrongful and unlawful actions of Defendants, described

above, Plaintiff, Tara Amboh was injured and has suffered

and continues to suffer damages, including but not

limited to distress, personal injury, anguish, suffering,

humiliation, deprivation of congressional Uinta Valley

Treaty Reserved rights, and other incidental,

consequential, and special damages.

       34.   Defendants acts and omission, as set forth

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 herein, were malicious, reckless, wanton, oppressive,

 and/or fraudulent, justifying and award of punitive

 damages against the individually named Defendants in

 their personal capacities, for the purpose of punishment

 and to deter others that the State Laws do not apply to

 Native Indians in Indian Country's federal policy, or on

 commissions of same offenses that Plaintiff suffered.

       WHEREFORE, Plaintiff Amboh respectfully pray for

and demand judgment against the Defendants as follows:

        (a) For judgment against Defendants for
            compensatory damages, special damages,
            consequential damages and incidental
            damages under any or all causes of
            action, in an amount to be determined
            by this cause of action;

        (b)   For judgment declaring Indian Civil rights was
              violated by the Defendants;

        (c)   For injunctive relief;

        (d)   For reasonable fees and costs incurred herein;

        (e)   For pre-judgment and post-judgment interest
              in amounts to be determined according to law;

        (f)   For an award of punitive and exemplary
              damages, in an amount to be determined
              in this cause, and;

        (g)   For such other and further relief as the
              Court deems just and proper.

Respectfully submitted this      27     day of September 2021.

~£~
Tara J.   ~h
Uinta Band Member            14 of 14
